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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                            MDL NO. 2924
   PRODUCTS LIABILITY                                                                     20-MD-2924
   LITIGATION
                                                            JUDGE ROBIN L. ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE E. REINHART

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          ORDER DENYING WITHOUT PREJUDICE THE PLAINTIFFS’ MOTION
         TO AMEND TO CERTIFY A QUESTION FOR INTERLOCUTORY APPEAL

          This cause comes before the Court upon the Plaintiffs’ Motion to Amend to Certify a

   Question for Interlocutory Appeal [DE 2693]. The Defendants have not yet filed a response to the

   Motion. Ordinarily, the Court would, at a minimum, expedite a response before entering an order

   on the Plaintiffs’ Motion, however, the Court notes that the Plaintiffs’ deadline for amended

   pleadings is imminent: February 8th. Because of the close proximity of that deadline and because

   the premise of the Motion is, in part, the Plaintiffs’ understanding of certain of the Court’s prior

   rulings, the Court sua sponte clarifies certain of its prior rulings; in light of the clarification, the

   Court denies the Plaintiffs’ Motion without prejudice so that the Plaintiffs may have the benefit,

   in any renewed motion and in any amended complaints, of the Court’s clarification. The Court’s

   ruling is not upon the merits of the Motion, nor is the Court’s ruling intended to deprive the parties

   of an opportunity to be heard on the merits—the Court’s ruling is intended to frame any renewed

   Motion, and any amended complaints, on a correct understanding of the Court’s prior rulings.

          The Plaintiffs’ request for an interlocutory appeal is premised upon the understanding that

   the Court dismissed certain claims in the CCCAC with prejudice. That understanding—that

   premise—is wrong for at least two reasons.
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          First, the Plaintiffs contend that because the Court struck personal injury allegations from

   the CCCAC (e.g., cellular/subcellular damage) and because the Court ruled that 28 U.S.C. § 379r

   requires a personal injury, the Plaintiffs cannot replead their CCCAC claims for economic loss.

   While it is true that the Plaintiffs may not replead claims in the CCCAC that are predicated upon

   a personal injury, the Court left open the possibility that the Plaintiffs could, in an alternative

   pleading, replead class claims for economic loss that are based upon personal injury. DE 2515 at

   48 (“Thus, the Injury Plaintiffs, without any prejudice to their substantive claims, may seek leave

   of Court for an alternative pleading to allege their class physical injury and/or medical monitoring

   claims.” (emphasis added)).        The Court expressed no opinion on the intersection of

   cellular/subcellular damage and § 379r pre-emption. Thus, the Plaintiffs’ contention that they

   cannot replead their claims for economic damages—that those claims were dismissed with

   prejudice—is simply incorrect. While the Court ruled that the savings clause of § 379r requires a

   personal injury, the Court did not reach the question of whether the Plaintiffs’ allegations of

   personal injury satisfied the personal injury requirement.

          Second, the Court has not precluded the Plaintiffs from repleading their claims in a manner

   that avoids § 379r pre-emption entirely. In response to the Brand Defendants’ Motion to Dismiss

   on § 379r pre-emption grounds, the Plaintiffs argued that their claims did not fall under § 379r

   because of their allegations that ranitidine was misbranded. DE 1976 at 30 (“Plaintiffs’ claims are

   not expressly preempted here because (A) the claims parallel federal law, including misbranding

   law . . . .”). The Court could not render a final ruling upon this theory because of the shotgun

   nature of the Plaintiffs’ pleadings and because the Court did not have sufficient clarity on what the

   Plaintiffs’ misbranding theory (as applied to § 379r) actually entailed. DE 2532 at 27 (“As the


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   Master Complaints are currently pled, the Court cannot undertake a careful, state-by-state analysis

   of state-law-based misbranding claims. . . . [F]inally, the Court has found that the Plaintiffs’

   allegations of misbranding lack clarity and must be repled. For all of these reasons, the Court

   rejects the Plaintiffs’ misbranding-based arguments as an exception to § 379r pre-emption but will

   permit the Plaintiffs, in an amended and clarified pleading, to raise the exception anew.”). The

   Court expressly permitted the Plaintiffs to replead this theory and, as a result, the Plaintiffs’ claims

   were not dismissed with prejudice; the Court expressly requested “additional attention and

   discussion in future briefing” on the issue. Id.

           For the foregoing reasons, it is ORDERED AND ADJUDGED that the Plaintiffs’ Motion

   to Amend to Certify a Question for Interlocutory Appeal [DE 2693] is DENIED WITHOUT

   PREJUDICE. Nothing in this Order shall preclude the Plaintiffs from filing a renewed Motion.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 29th day of January,

   2021.

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                                                          ROBIN L. ROSENBERG
   Copies furnished to: Counsel of Record                 UNITED STATES DISTRICT JUDGE




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